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              Independent Epstein Victims’ Compensation Program Announces
                              Conclusion of Claims Process

                    Approximately $125 Million Awarded to Eligible Claimants

New York, NY - Today, the Epstein Victims’ Compensation Program (the “Program”) and its independent
Administrator, Jordana (“Jordy”) H. Feldman, announced that the Program has awarded nearly $125 million
to approximately 150 eligible claimants and has concluded its claimant-facing operations, roughly one year
after the Program launched on June 25, 2020. Ninety-two percent (92%) of eligible claimants accepted their
compensation offers, and the Program paid over $121 million to those claimants.

The number of claims submitted to the Program – approximately 225 – far exceeded original expectations
that 100 claims would be filed. Claims were generally processed and paid within 60 to 90 days, which
included the review of the claim, a meeting with the Administrator, and issuance of the determination, and
allowed for a 60-day response period for claimants to fully consider the offer.

“This important, independent Program allowed victims/survivors who were sexually abused by Jeffrey
Epstein to resolve their claims outside of court through a voluntary, confidential, fair, empathetic and
expeditious process – beyond the glare of public proceedings and without the costs and confrontation of
litigation. Every claimant had an opportunity to be heard in a safe space, to share the intimate, personal,
often harrowing accounts of what they endured and how it has affected them,” Ms. Feldman said. “I was
continually struck by the resilience and courage of the victims who put their faith and trust in this process.”

Consistent with the governing Protocol, Ms. Feldman administered the Program independently of and
entirely free from any interference or control by the Epstein Estate. Ms. Feldman had complete autonomy
and decision-making authority to determine individual claimant eligibility and compensation, and evaluated
each claim on its merits without reference to any individual or aggregate cap on compensation amounts.

Preserving claimant privacy and treating victims with compassion and sensitivity was critical to the success
of the Program. “Confidentiality served as a cornerstone of the Program, allowing victims who otherwise
may have been reluctant to come forward to participate without fear of public exposure,” Ms. Feldman said.
“Given the history of the Epstein case, we were also particularly mindful of the importance of providing
claimants transparency into the claims process and offering them an opportunity to tell their stories. Every
decision made and every action taken was rooted in these guiding principles,” Ms. Feldman added.

“I am proud of what we were able to accomplish with this Program, but also recognize that no amount of
money will erase the years of pain these victims have endured because of Jeffrey Epstein. My hope is that
the Program provided his victims a meaningful measure of justice and a step on the path toward healing.”

For information about the Program, visit https://www.epsteinvcp.com.
